Case 1:05-cr-10032-.]DT Document 8 Filed 04/22/05 Page 1 of 2 Page|D 9

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Eastern Division TlME: 5 ,4{_‘5 }'”

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UNI'I`ED STATES OF AMERICA

-vs- Case No. 1:05cr10032-002-T

RONNIE L. MULLEN

 

ORDER OF TEMPORARY DETENTION
PENDING I-IEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, APRIL 26, 2005 at 2:30 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 407, Fourth Floor, United States Courthouse and Federal Building,
111 South Highland, Jackson, TN . Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: Aprn 22, 2005 <:S/'/'Z` M W_
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

llf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1) are present. Subsection (l) Sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B.'HS) Order of Temporary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10032 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

M. Dianne Srnothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

